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Other control data

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Figure 5-19 Encoder output stage ( ¥LC and Rate controller ) su
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Figure 5-20 Decoder input stage
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Encoded data

Figure 5-21 YLD and DMUX

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To Adaptive predictor senory_(¥)

Figure 5-23 Decoded field uemory with output memory

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Case 2:10-cv-01823-JLR Document 173-4 Filed 02/03/12 Page 4 of 12

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866604 bits
1202042 bits
03321292 bits
4353445 bits
8805773 bits
19960512 bits
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34.75 dB
34.43 dD

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4456668 bits
B12

39,53 dB
32.49 46
34,04 48

1801996 Sita

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15 19 P2 9.0 31.70 94.11 34,43 95264 31, 7H 94.29 34.53 BI Node 81 85 P2 34,39 195120 585884
18 14 6 14.0 G3 33464 82 80 B 625784
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177 18) PZ 8.6 34.28 33.53 39.67 104480 31,32 33,59 39.58 215928 021726 rE
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Pl-picture

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B-picturo :

PO-pleture ;

300 pictures

SHR for lualnsnce N05 48
SUR for chroninunce {Ch} 39.27 da
39.81 4B

SNR for chrom{nence (Cri
Number of bits

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Cb 1015682 bits
Cr 785608 bits
totel 19370250 bits
Wotlon vectors 4179342 bits
Overhea: 2420912 Bits
19970544 hits
Kean value of Q scala 7,94
13 pictures
for lualnance 32.47 dB
SR for chrosinance (Cb} 39.22 dB
SIR fo {Cr} 38.89 dB

Number of bits

Caoffictonts Y 2791795 bits

b 320402 bits
r T1731 bits
. otal 3383978 bits

Motlon vectors hts

Overhead 82046 hits

T 3438824 bite

Mean value of Q scale - 6.64

198 pletures

for lustnance a3 ap

SMR for chroa{nanee {Cb} 39.92 db
SHR for chrosinanca (Cer) 39.87 db
Huaber of bit.

Goottielents Y 2547536 bits
cb 208448 blis
tr 13740 bits
total 2838914 bits

Hotion vectors 3076378 bits

Overhasd 1536572 bits

TS501864 bits
Kean value of Q scale 8.74
13 pictures
SWRA for lualnance 31.34 de
SHR for chrostnance (Cb) 38.95 4b
SNR for chrosinence (€r) 39.45 4b
Nusbar of bits

Coalficlents Y 1287207 bite

Cb 82317 bits
_ er 71504 bits
toted = 1411028 bits

Wotlon vectors 105131 bits .

Overhead
+10

Mean value of @ scale

2 plotures

Table Tenals

HOD RNVAN HW OO ATAU WO

OD tae Be es te ee cee ne

coo INP
or

7 4.0000 Mbits/sec : Statistics of nach fleld and fraas

field statistics frase atetistics conulative
Qsc SH-¥ SK-Cb SM-Cr bits SW*Y SU-Cb S¥-Cr obits) bit count
Ba 98 3 39.87 ansae4 308564
8.0 29.52 36.07 39.43 547160 © 547390
8.3 $38720
19.9 27.52 38.93 30.57 t60r0 © taT440
813.0 127720
13.6 28.06 38.08 39.41 41000 © 148440
13.0 . 173392
B 13.0 17.08 38.17 39.51 47068 © 195480
112 s02606
28 26.96 38,03 39.28 221256 1016736
14:3 _ 1edgl 04
14,0 7. OF 39.65 46488 1065224
14.0 1037728
14.0 26.71 38.30 39.50 45e32 1110256
10.7 1137268
1d 26.83 38.20 39.26 225296 1335559
15.3 1361480
15.0 26.17 38.09 99.21 52640 ideni92
16:3 1420968
17,9 98.70 56.25 39.5% G5i08 1453400
10.6 1725432
11.0 97.71 37,81 39.09 435568 032
16.3 456
15.0 26.14 35.33 39.48 59352 1948985
16,3 32280
15.3 26.39 38.30 39.60 60512 5052
19.8 175648
12.4 25.52 97.92 38.93 422152 282564
16.3 B0as
16.3 26.18 37.94 39.09 §8960 341624
i628 359208
a1t.o 26.24 38.04 39.09 S4598 30618
Pl 10.0 Seeo7s
Pr 10.8 26.92 37.9) 38.97 233832 629984
B 14.0 654368
$15.3 86.12 99.03 99.06 54544 © 654508
i 4g Ti3dd
8 15.0 26.18 38.01 39.05 S7S7B 742104
Pr o9g
P2 10.3 27.21 37.87 38.94
814.0
aise 26.50 38,09 39,02
214.0
B49 28.61 38.89 30.00
194
Po 9.0 26.99 98.14 39.44 420728 1513824
8 16.0 1550192
815.3 26.12 38.06 39.10 70816 1584640
816.0 43704
B 16.0 26.10 38.10 39.19 AbSéO 8©—-15580
Pl 3.8 119032
2071 29.45 38.78 39.98 190464 277024
Bi3.5 310456
B13.0 27.48 38.53 39.81 103394 919408
B 13.0 42b8t4
B 2.3 24.38 98.73 40.01 33580 © 4facaa
Pl 8.4 548112
P2 9.0 30. 29.93 39.07 40.15 146520 609508
B10 . 53480
Bi2.0 . 29.03 39,11 40.22 3786 9745)
811.3 - 2. 7TAB400
Bil.O 29.07 39.08 40.18 41616 29.17 39,07 40.17 34580 782016

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93

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62 56 PA a 30.95 39.42 40.18 83136 - 865152 128192 Pl 4.9 34.87 40, 13 4). 81 108312 586000
$3 i. 2939.69 40.44 65816 31,11 39.55 40.30 148992 930968 129 133 P2° 4.70 4. Rd 40.09 80. 74902-3486 40.11 40.55 i87304 654999
84 ‘§ 8B 39.31 40.27 40056 9 4 130.128 9 7.0 0 34.52 40.09 ings 4as2a 709546
68 te : sige i 2 83 F 7.0 34,66 40.28 40.86 © 46295 © 34.64 40.18 40.79 «SoMmd § F55RIE
66 0 10siaag BT.0 34.50 40.12 40:90 45960
81 70 30.17 39.43 40.32 76248 1088320 $ 7.0 34.48 39.96 40.56 aa5a0 3. 40,06 46.62  sge4g
68 1 1263240 PL 7.8 39.95 28.47 38.64 223146
«9 e 32.95 39.80 40.67 222704 1311088 P2 8.0 37.06 31.18 38.03 88938 32.39 38.39 33.32 312080
70 68 D iL 1949656 Bil. 32.91 39.43 38.43 41896
71 69 B11 30.92 39.90 40.75 77792 1388880 B.O 3n99 3a. a 37.87 29040 31.90 98,95 38.16  s0935
7270 2 11.0 36120 BLO (32.27 98.48 38.60 26464
13071 2 hed 31.66 40.18 41.05 69344 © 69344 BLO 31.90 39.12 37.97 22000 32.08 38,30 38.27 ana
74 7a Pl 4.6 ear 414 186752 16.0 34,10 39.35 39.55 261440
18 19 2 4.1 2:41.78 96240 34.08 40.63 41.60 213648 392992 142145 PO 8.0 33.09 38.85 34.85 110856
we 14 8 8,2 32.82 40.55 $1.52 57640 240633 BULO 33.47 99,49 99.58
77 75 B 6.3 33.07 40.61 41.68 56872 92.97 40.59 41.65 1h4si2 397804 Bio 99,16 39.18 39.12 54872
18 78 8-63 33,18 40.51 31.71 54240 451144 Bile
49 77 6 5.3 99.75 40.85 41.85 55112 33.44 40.73 41.79 109952 508856 B 11.0 33,13 39.20 35.18 51624
BO 84P1 4.5 34.50 40.97 41.51 104400 611256 146 180 P1 4.3
81 SS P2 4.2 34.92 40.99 41,88 87968 © 34.65 40.87 61.69 191763 658524 147 151 P2 5,2 33,51 39.28 49.38 135104
$2040 8 5.3 34.07 40.96 41.57 S8196 756600 148146 7.0
aa 6.0 34.05 40.93 41.82 54272 34.065 40.94 41.89 112448 811072 149 147 8 7.0 33,42 99.33 39.43 65616
8482 B 6.0 34.00 49.84 41.90 54399 865464 150 148 B 7.0
8S 69 1 5.7 34.22 40.98 41.85 50728 «34,11 40.91 41.83 105120 916152 181149 B 7.0 33.39 39,98 39.41  Gaa5a
68 90 PL 4,9 (34,78 49.72 41.47 100704 1918895 (So 186 pr 3't tie
6% 81 -F2 4.7 35.13 40,92 41.70 80895 = 34.95 40.82 41.58 181600 1099799 153 187 P2 3.4 34. 64 374 39.88 105832 94.67 39.78 AOL 2164s
$6 86 8 6.0 34.32 40183 41.58 50768 1148560 $54 152 B 4.7 34.28 39.86 40.12 41608
49 87 BH G.0 34.54 40.91 dtse 57998 iesest | 1205588 183 153 Bo4.7 | 34.17 39.74 99,83 42904 34.3) 39.80 39.97 83912
30% B 6.0 34.55 40.80 41.49 58080 1263968 156 154 B 4.0 34.44 39.89 40.18 45584
91 89 B 6.0 34.61 40.79 41.45 Bitmd 34,58 40.79 41.47 309264 1318152 157 155 pb 9.7 34.46 39.87 40.05 0160 34,48 39.85 40.12 95744
92 96 6.2 a. 8 $0.44 41.21 183608 1478824 158 162 Ph 2.6 35.97 40.13 40,60 115832
83 $7 PO 6.0 240.61 41.20 SS2B0 34.71 40.52 41.20 2ussea 1594104 $59 16] P2 2.8 35.26 40.20 40,56 10564¢ 35.31 40.16 40.58 270872
3482 R67 alte 41.05 4151 50160 1584264 160 159 8 3.3 34.98 40.10 40.49 © 49909
56 83 B 7.0 34.64 40.94 41,33 52624 34.79 40.98 41.42 102784 1636868 161 159 B 3.7 34.82 40.10 40.37 44984 «44.88 40.10 40.43 94376
98 94 B 7.0 34,69 40.89 41,43 52296 62296 162 160 B 3.3 34.94 40,12 40,53 50568
$7 95 B 8.0 34.95 41.05 43.64 E1908 4.e2 40.98 41,53 seareg  saarge 183 161 83.3 34:37 G15 Aaa S08 54.93 40.14 40,40 99872
98 102 PL 5.0 34.96 $0.28 40.75 106792 210896 164 (68 1 4.7
99 $03 PZ 4.8 35.07 40,54 41.00 T7800 $4.91 40.41 40.87 184602 298606 $65 169 PO 5.0 34,19 39.41 39,58 £18272

yoo ga on 6.7 17 41.96 40634 338320- 166 164 B 4.0
tol 99 8 7.0 3468 ie. 64 41.95 52218 94.72 40.70 41.16 Lo1saD 390846 167 165 B40 34.99 40.29 40,89 83982
102 100 B 7.0 34.55 40.43 40,99 32288 442824 163 166 B 4.7
103 101 8 6.0 94.85 40.46 41,08 $1544 34.70 40,48 41.03 109832 494368 169 167 B 4.3 34,88 40.94 40.89 78632
104108 Pi 4.7 © 35.04 40,11 40.63 109760 604128 170 174 PL 3a
105 109 P2 §.1 35.12 60.26 40.84 72600 38.08 40.19 40.72 282360 876729 171 178 PZ 3.5 34.62 39.76 40,19 194730
108 104 6.7 34.75 (0.38 40.86 49512 726240 172: 170 «B58
107 105 B 7.0 34,57 (0.25 40.64 S3144 34.66 40.91 40.75 102658 779384 ITZ 17L BD S.6 34.19 39.80 40.12 67212
108 105 B 7.0 34.88 36.27 20.65 50364 629588 U0 iv? a be
409 107 8 6.0 34,93 40.32 40.82 50440 94.80 40.25 40.73 100744 880128 119173 B AT 44.24 39.80 40.13 70582
100 134 PL 4.4 35,38 40.29 40.95 114280 ag4aga 176 180 Pl 2.7
iil 115 F2 4,5 95.14 40.28 40.75 78512 «35.28 40.27 40.85 392752 2072880 (77 181 P2 2,8 35.22 60.21 40.56 202088
112 110 B 6.0 34.98 40.35 40.91 54648 1£27528 {78 176 8 4.7
W143 UL Bo 6.3 14.85 40.28 40.84 54408 94.91 40.90 40.98 109056 1181936 1791977 -B 4.3 34.71 40.07 40.53 70736
TNA 112 8 6.3 | 38.01 40.38 40.92 Sa6s6 1295632 180178 B43
HIS 109 8 6.90 35.01 40.33 40.88 48976 «35.01 4.34 40.90 102672 1284508 181179 Bae 34.82 40.09 40.60 70120
116 120 Fo 4.7 (35.61 40.31 40.54 210024 1494596 PL 2.3 35.69 40,38 40.94 107256
117 12) PO 5.0 34,86 40.35 40.95 “65800 35.22 40.39 40.94 275824 1560498 P2 2.7 36.85 40.20 40.68 $4760 38.62 40.28 40.81 202016
118 116 B69 33.01 40.36 41.01 53077 1614588 Ro 4,0 38.93 40,33 40.95 agess
lig 117 B63 97 40.51 41,10 53392 34.99 40.44 41.06 106454 1666960 Bo 4.0 35.15 40.76 40.65 41408 35.19 40.25 40.99 81072
120 1k 8 67 4487 docee aLcat 1196 Bo4.0 35.24 40.34 40.92 39760
121 119 BR 6.@ 36.09 40.86 41.92 102432 © 102433 SB 4,6 95.43 40.18 40.02 38508 35.18 40.26 40.77 TROEE
122126 PL 4.6 © 38.02 40.28 40.72 211504 I 4.3 95.24 39.94 40.32 319512
123.127 P2 4.7 38.09 40.39 40.89 81372 35.08 40.30 40.80 190984 293376 Po 4.0 34.42 39.66 39.88 158776 34.81 39.80 40.10 478288
24127 B T.0 34583 40.49 41.17 © 45058 338133 8 4.0 35.53 40.76 41.39 40294
125 423 8 7.00 34,83 40.40 41.16 47944 34,83 40.41 41.16 92400 385776 B 4.0 95.34 40.35 40.89 40920 38.43 40.55 41.06 81144
126124 B 7,0 94.88 40.36 41.14 © 46176 431982 2 4.0 35.50 40.70 41.391 42984
127135 8 G5 (94,92 40.36 At-23 45736 © 34.89 40.36 41.14 91912 477688 199191 Bo 4.0 35.33 40.34 40.78 40496 35.41 40.51 41.02 Aadan
$8.35 334759 1927136
i594 198 FL 4.8 (33.09 33.98 39.55 324752 408292 260 264 ee 359008
196 199 P2 5.0 32.08 ea 3 15 istsae 33.36 98.94 39.25 479288 552788 i ee . ’ 38.65 32.65 38.74 38.29 367944
196 194 B 8.0 3}. +08 39,22 192 517960
197 135 B89 31.08 38-76 3845 2958 3.77 38.91 35.03, anTS60 s1aank 303 361 92.49 39.40 39.76 743860
198 198 BS. : + .
199 197 8 7.0 42 34-97 39.01 31552 91.97 99.02 38.21 T4048 74439 269 263 32.48 39.30 39.59 76640
200 204 PL 7.3 391.98 38.88 99.13 72952
201 205 PZ 10.8 30.35 34.49 38.52 47335 31.08 38,68 36.81 15288 359664 267 271 32.90 38.88 38.91 149688
202 266 Bit.d -85 3$.18 $5.48 33944 831898 268 266 2.14 38.98 39.10 &7616
203 701 812.0 31. ss 34.81 38.90 23084 32.30 38.98 39.12 a6zen g04052 269 267 32. . I.
204 202 B 12.0 32.10 39.09 39.99 23064 028016 270 268 31.28 38.99 39.07 79016
205 203 812.0 38. 28 38.68 38. 7 40384 31.68 98.88 98.99 42443 34t4eo ark 369 ' . I.
206 210 Pl 5.5 32.51 38.91 39. 4
207 211 P2 $.6 32.32 38.55 38.81 89912 32,42 38.79 98.93 133056 1131456 973-2177 32,51 38.88 19.04 163936
208 206 B 8.0 32.42 99.09 99.94 26184 157640 274 272 31.44 3.72 39.01 anges
209 207 8 8.0 31.79 38.65 38.64 27776 32.05 38.89 39.04 53960 1185416 278 273 . . .
210 208 B 8.0 34.92 98.05 99.90 24959 1209788 276 374 32.28 38.95 39.19 78208
241209 8 8.0 31,86 38.60 38.80 24344 «33.03 38.77 38.99 18696 fagaiia nn af . . .
22 216 5.0 39.
213 217 FO 5.0 39,38 39.28 39,45 455056 1699232 279 383 32.22 36.67 38.90 158016
Hada a ke 32.08 38.52 20.75 sieas Tease 281 279 32.35 38,92 39.36 72376
216 214 8 25880 282 280
217 215 B 8.0 | (32.99 35. a7 3. a 295 33.14 99.55 99.77 S0NTs a1 253 281 31.82 38.90 39.23 89216
2ta 222 B 4.6 41.20 1 90!
219 223 P2 4.7 32.97 aed 39.91 sande 33. 05 99.40 39.62 174456 224892 385 289 32.65 36.60 38.88 343568
220 218 8.3 39.42 39.51 40.14 © 27336
221219 B 6.0 33.15 39.20 39.3 33.28 99.49 39.74 $2952 279584 287 285 31.06 36,8¢ 19.20 16008
272 220 6.3 303648 288 286 ances
223 221 B 6.0 25R56 33.14 39.45 39.68 Sieze anaces zee ur 71a58
p24 228 PL 4.7 414920
on 929 P2 4.9 32.87 99.92 39.55 170456 499960 291 205 32.10 38.68 38.96 180776
226 224 8B 6.0 525248 292 295
227: 225 «B 6.0 33.17 39.40 39.66 48856 pase 233 20) 30.959 38.82 39.05 73368
8 6.9 ,
Wir ob a3 32,09 39.95 39,64 48808 boTeid 399 233 30.76 38.70 38.93 75024
230 234 PL 4.7 . . 9
231 235 P2 4.8 33,21 39.33 39,60 170432 796056 397 299 42.98 38.79 38.68 149944
230 8 6.3
233 3nd 33.27 30.98 39.64 Siaie 919472 299 297 20.81 38.75 38.98 77048 604548
924222 8 6.2 ga7atg
235 239 8 6.3 33,04 39.36 39,62 54536 874008
236 240 «1 4.8 a 1196856
257 Bi PO 5.0 33,49 39.35 39,59 472018 1346658
238 236 8B 6.3 1378848
239 237 8 6.3 43,66 39.977 40,15 4912 1411600
240 238 8 6.3 34896
241 239 8 6.0 93,56 99.92 ADIL «= 67add = 8IaLA
242 246 PL 5.7 182188
243 247 P2 5.2 92,69 39.26 99,46 186352 253096
344242 07.0 46 38.58 3.68 4, B7StE
248242 8 9.2 52.46 59.56 35,69 iz deeeea
6244 B 7.0 3568
ay ua 8 4.3 32,46 39.43 29.62 70888 394096
248 253 Pi 490874
249 253 P28. 33,12 39.23 39.41 149760 Seaeie
tT. 92,03 39.12 39.39 $6816 © 680612
“B &. T8712
BT. 82,68 39.33 39.58 13768 184440
1 6. 330840
2 6. 92,81 38,05 39.20 169868 918088
B 1g. 959008
B 10. 39.15 43952 1002040
tie 6 35856 1037896
BOS. 30088 ibé7oa4

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CHSE: LED GteO IGLGrdlubrer IM@CcuMent 173-4 rubed Gs 02/03/12 Page 8 of 12

‘  Coofficlents 2238814 bits
Tota! : 300 pictures Cb 147676 bits
SUR for Juatnence 78.78 dB Cr 187975 bits
SHR for chroalnance (Cb) 43.75 a3 total 2674415 bits
SNR far chroalnance (Cr) 34,22 dh Motion vectors 400549 bits
Nusber pf bits Overhoad 299008 bite
Coof fletonts Y 12366261 bles TOTAL 3382072 bits :
cb 1548738 bits Mean valua of Q scale 9.70
Cr 1429227 bits .
Sots) 15338226 bits |
Wotlon vectors 2690950 bits P2-picture : 38 pictures .
Overhead 1971504 bits SRR for luslnance 29.09 08
19966680 bits SHR for chrosinance ib) 33.44 dB
Mean value of 2 rcale 15,57 SHR for chrorinance (Cr} 33.96 dB
Musber of bits
. Coefficlants ¥ 1940483 dite
I-picture : 13 pictures ob S7LESS Sits
or Boe Si. 7a di cr 144887 bits
‘or ci a 34.82 gh totel 2256559 bits
SAR for chrast 35.40 da Hotion vectors 379709 bits
Huaber of bli: ~ Overhead 396493 bits
Coefficients Y 4409333 bits TOTAL 3032752 bits
cb 871913 bits Kean valug of @ scale 5.72

Cr
1 total 6161208 bits
Motlon vectors 0 bits
Overhead = + 52126 bles
6219232 bits

6.75
oo
E-picture : 198 pictures
SER for luainance 28.40 dB
SYR tor chroainance (Cb) 33,74 dB
SUR for chron 34,17 GB
Kuuber of bits
Coefficients v 4414337 bits
cb 101287 blts
cr 48067 hits
total 1563691 bits
Motion vecters 1806278 bits
Overhead HLS8Eh) bits
TOTAL 4476480 bits
Mean value of @ scale 18.97
Pé-picture ; 13 pictures
SAR for luminance 30.62 da
SHR for chroai 33.80 4B
SMR for eh: 34.52 a3
MNugber of bits
Coefficients v 2353294 bits
i> 156723 bits
C 168438 bits
total 2678455 bits :
Yotion vectors 85323 bits
Overhead 116406 bits
TOTAL 2081184 bits
Mean value of @ scale 6.82

Pi-pleturs ; 38 pictures
SHR for 1

29.32 da
33.83 dB
34.29 4B

Nobile and Calander : 4.0000 Ubits/sec : Statistics of each tleld and frase 62 66 PL 8.3 ee 615200
267 P2 3.8 49.52 33.74 34.99 175032
field statistics frase statistics comulative a4 62 8 1B.0
too mp 7 Qse SN-¥ SH-Cb SN-Cr SM-¥ Si-Cb Si-Cr bits bit count 46 63 8 18.0 27,63 33.04 34,70 467565
a a4 be 4 8 495886 G& 64 8 16.6
1 ; rb 70 30.96 34.95 35.09 659200 659460 67 6S B ik.6 87.64 33.85 34.30 42896
2 6P1 9.0 156306 68 72 L 4.2
3° 702 38 29.24 33.99 34.68 198320 847630 69 73 PO 7,0 30.91 14.22 24.90 Ga6o12
4 2 819.0 873680 70 68 8B 16.3
5 3 B80 24.26 34.08 34,77 51128 8988038 71 63 BB OI7,0 28.43 34.26 34.77 51096
6 4 81890 924093 72 70 8 16,0
7 & §19.0 20.11 33.99 34.65 51184 919992 73° 71 2B 17.0 28.57 34.96 36.939 47416
8 32:01:10.4 1b446s6 74° 78 Pioa.@
3 13-72 10.2 28.65 33.97 34.30 186249 1136232 75 79 P2 8.1 30.02 34.05 34.68 175152
10 8B OB 20.0 1161994 76 74 2B 15.0
4100-9 8 19.0 7,7 s Bisi6 =11d7608 17° «75 «8 16.0 23.68 34.02 34.55 52368
12 10 819.0 27.38 33.70 34.95 22129512 78 76 8 16.0
13° 11 B 20.0 . 33.64 34.12 5oa00 1234408 79 77 8 16.0 26.41 34.02 34.59 53456
14 18 Pt 19.9 1331224 80 B84 PE 10.2
15 19 P2 10.8 172904 1421312 Bt 85 P2 9.5 29.14 33.56 34.05 166800
16 14° 821.7 14377728 82 BO 819.6 .
17°18 B BLO SO9S2 1482964 4308108 19.0 28.47 33.24 393.72 2376 «28.55 33.57 34.02 44728
18 16 B 28.7 $4a6e08 84 82 8 19.0 .
19 17 623.0 47536 1503600 83 83 8 19.0 83.84 34.38 44764
20 24 1 7.0 1968810 a6 90 PI
21 25 PO 7.0 G6a7Ss 2178416 a? G1 Pz 35.51 353.75 i74z40
22°20 8 21.6 2201784 a8 86 8
23 2) 2B 21.0 28.00 34.00 34.52 45448 2929864 89 a7 & 33.22 33.57 47464
24 22 «2B 21.0 20992 90 a8 Os
26 23 B 21.0 28.16 94.11 94.74 44680 44680 91 89 3 33.85 33.91  4¢2B24
co 26 30PL 8a 1424480 o2 96 1
27 3172 9.1 29,70 34.15 34.83 83976 228656 93° «97 FO 34.22 34.84 686320
O35 26 2B 16.0 255690 94 92 8
29 27 8 16.7 26.58 34.10 34.72 53952 saasog 05 99 6 33.55 34.34 48664
30 28 8 16.7 307233 96 94 © .
3) 29 3B 16.7 28,46 33.93 34.62 49376 331984 . 97 95 B M033 UN.67 | 44064
32° 36 PL 1 420528 98 192 Pr og,
33°37 Fz g 29,97 33.83 34.44 185048 517032 99 103 P2 9.3 33.97 4037) 177032
3463208 0 536448 100 98 617.0
35 33 8 o 28.48 33.65 94.29 42176 == SE9208 fol 99 B I7.0 33.89 34.391 47832
36 34 Q 103 100 BIT.o
37 38 8 0 26.70 33.80 34.46 43344 103 101 817.0 3.04 34.48 44096
38 42 P1 9.4 104 108 P1 9.5
ag 43 PA 9.3 29.11 93.55 94.10 187544 108 109 2 9.3 33.52 34.00 192768
40038 68 17.0 106 164 Dita
4228 8 19.6 38.15 93.39 33.97 48268 107 105 B 17.90 33.52 33.92 S0s92
42040 8 17.0 0} 106 8 17.0 "
43041 8 7 28.30 39.54 34.16 © 46175 a 199 1902 8 t8.6 33,972 34.12 50976
44048 «7 4 1402216 (10 114 PL 86
45° 49 PO a 31.78 34.97 35.65 765576 1650200 JEL VES P2 16.6 33.37 33.81 177680
46 44 8 47,0 1670832 182 2100 B 20.7
47 45 -B 19.7 29.33 34.42 34.94 43992 1694192 U3 11t B 20.7 33.24 93.57 44232
48 46 BO17.0 22592 114112 B 22.0
439° 47 OB 17.0 29.25 34.59 35.11 4asa8 3528 115 113 B 22.0 33.32 39.65 9 44597
50 S4P) 8.6 135168 16120 4 4.0
Sl 55 P2 9.3 29.78 34.]4 26.69 195584 9219112 117 421 po 9a $734.18 S402 699258
$2 50 8 17.8 : 237504 14116 B 20.0
$3 Si 8 6 29.60 34.26 34.82 40928 260040 19417) B 2a,0 33,91 34.92 a7aas
54°52 «8 17.0 2geees te 8 8 tao
55 53 68 17.0 99.40 94.61 35.09 43942 301952 12) 119 8 20.0 34.05 34.54 44096
86 6OPL 9.6 39099% 122 126 Pl 9.9
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279 283 72 41.4 28.92 33.41 123896) 601728 SWR for }umtnance 34,14 dB
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392 23d 8 23.7 147404
293 291 =23 7 28,95 93.48 33.95 29840 162224
oa 2a) Bass ieaged B-pleture : 196 pictures
233 22.7 39.4833.85 34.98 30208 192432 SNR for luminance 91,53 dB
296 294-P1 15.1 234032 SNR for chrominence (Cod 36.17 dé
297 299 P2 44.8 . I. 27.70 32.60 33.08 82135 274563 SNR for chrosinance (Crd 3714 ob
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8 12.0 . 32.52 36,99 37.97 92912 187 185 B 13,0 31.58 36.06 37.20 agedo 1137768
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195 199 P2 32,17 36.38 36.91 68538 32.21 26.37 96.94 144352 275528 260 265 PO'12.0 ©6930, 98 35.38 38.22 §Se72 31.51 35.65 36,40 B7e3968 1aisaas
196 194 8 98,09 36,71 37.57 45520 321048 462 260 6 18.0 30.24 34.05 35.83 42064 | AS78512
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399 1ST? B A414 634400 31,69 16.44 37.20 s3gaa = 468680 265 263 B 16.9 30.59 95.34 36.27 83840 83040
200 204 Pl 36.70 109440 S75! 20 mad 1oB556
204 206 Pa 36.79 «71696 «32,20 36.18 36.74 181898 5 31.84 35.93 36.39 [69592 253432
202 200 B 36.75 © 44720 5 298504
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205 203 8 26,88 99320 31.92 36.30 36.62 86240 8 31.12 35.38 3631 87872 438432
206 210 PL 26.67 118680 2 . 536408
207 211 P2 8,2 26.80 76664 92.61 36.26 36.74 197344 4 92.10 95.43 35.35 166216 6036s8
206 206 6 3 16 36.760 50125 5 615608
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210 208 B 12.0 36.75 s)90b aoe PE OTE BISg T3sESiE
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212 216 1 3,2 33,60 37.07 37.52 246066 278 282 Fl 9.1 492464
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214 212 B 13,0 32,06 36.40 57.02 © 45720 280 278 8 12.6 1003248
215 213 B 13.0 32,00 36.58 37.29 51884 32.03 36,49 37.12 97304 284 278 8 13.5 11,9@ 35.51 36.39 92328 1050664
216 214 B 19.0 © 32,18 96.64 37.30 40752 262 200 8 12.5 tedao
217 215 B 12.9 32,23 396.82 37.54 43232 12.21 36.73 37.42 92984 283 281 B 10,7 21.93 35.43 96.29 96048 1147912
218 222 Pl 3.100 $2.28 35.08 Se.58 119155 zed 208 «1 (9.9 1393680
219 223 P2 9.9 32,06 95.86 26.76 72600 32.15 35.91 36.78 196996 285 289 PO 9.0 32,42 35.85 34.53 115480 1462856
220 218 B 14.0 31.95 36.38 37.19 42888 286 2a4 16,5 1904632
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223 221 2B 18.0 © 31.59 35.98 36.80 42596 «31.64 36,03 396.90 99884 20% 287 B IS.0 31,38 35.64 36.51 88464 85464
224 20 PL 9.7 91,89 35.47 36.94 104712 290 204 FL 10.7 . . 178352
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220 224 B 15.0 91,98 35.08 36.589 9 43704 292 290 8 16.7 -20 35.47 36, 275912
227 225 815.0 31,33 95.68 96.46 4724¢ «31.35 95.68 36.53 ona 292.201 816.5 31,10 35.43 36.29 73296 313260
298 298 RIS 41,99 38.88 28,37 48388 254252 8 i685 . . . 351268
229 227 B 14,0 31.31 35.89 36,38 40976 31.30 35.57 36.37 an7ad 295 293 BLS,8 It, 23 35.36 36,17 35096 31, 06 35,37 36. 1G §=—73080 «= «346360
230 234 21 9.4 51.91 35.92 36.08 loseuE 296 298 P) 9,1 0 92.02 35.45 36.15 9a74a aas1oa
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232 230 813.0 91.52 35.48 96.32 9 447B4 298 206 BO 14.7 3.24 35.26 36.12 37680 5998465
233 231 8 14,0 91.37 35.48 36.22 50704 «31.44 35.48 36.27 95488 299 297 BO 12.5 3b. 1S 38.37 36.16 40680 931.19 35.92 96.14 «78380 | 624208
234 232 B 14,0 31.39 395.41 36.07 s0672
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235 240 1 7.8 (33.83 37.11 37.53 255224 : 1444984
237 241 PO 6.0 0 32.84 36.55 37.22 89176 33,30 36.82 37.33 344400 15
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239 237 B 14.0 0 31,72 36.1) 96.02 $9492 31.69 35.99 36.72 LoDzed 1694424
240 238 Bo 14,0 © 31.80 36.21 38.89 52392 $2392
241 239 B1I3 38,09 36,39 97,08 43824 «31.54 36,50 36.97 95216 = 96218
242 246 -F1 $4.0 31.00 35.15 36.08 96072 192288
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252 2750 2B 50808 732008
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Flowers Garden‘: 9.0000 bits/sec = Rueber of bits
’ " Coeffictents v 81723097 bite
Total : 300 pictures Cb 809304 bits
SHR for luminance . - 34.93 dB Cr 1900849 bits-
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Wusber eof bits Overhead 356632 bits
Coefficients 1 30042184 bits TOTAL: 9331688 bits
oo 3997972 bits Nean value of @ scale a. 24
Cr 4255336 bits
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Mean value of @ scale 4.48 SHR for chrosinance (Cr) 36.33 dB
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Ce V1S83S1 bits
total 7003773 bite
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Ar fean value of @ scale 2.04
Q-plhcture : 198 pictures
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Wuaber of bits
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TOTAL 16024752 bits
Jean value of Q scale 5.09

PO-pictere ; 13 pictures

SHR for Juatnance 36, 46 df
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Overhead 127739 bits

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SHR for luntnance 35.86 48
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$ 3B 47 35.90 38.51 3851 159048 1615000 71°69 B 4.7 38.46 37, $2 35.19 39.45 97.18 876232 9822048
& 48 fe (eosag0 72070 2B 4,7 35.65 97.67 . 36
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16 14 B 5.0 2885600 82 60 8 4.3 35. 28 37.19 1589696
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28 23 B 5&O 38.01 97.64.97.46 18ttS2 191152 St 69° D 5.0 34.41 36.37 34.57 36.52 36.23 172168 2eerza0
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20 27 B Fe 35.02 37.95 37.72 1asea0 = 775024 $$ 03 8 5.0 34.50 36.47 34.75 36.88 36.41 173536 1832256
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38 42 PL 42 - 1944648 104108 P1 2.8 © 36.63 37.71 37, 16 1230088
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42 40 9 5.7 9 2394044 103 106 B 4.7 35,21 37.09 36,71 * 1701580
43 41 3 5.0 34.19 36.55 36.22 177048 2490092 109 107 B S,0 34.61 96.41 36.14 34,90 36.74 36,42 [Tezge !798cRe
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48 49 PO 3.0 36.71 37.9) 31.23 701800 3271936 U1 LIS P2 3.1 36,33 39,24 36,69 36.14 36.93 36.53 475854 1272448
416 4405 5.0 MIBN6IE 112 1200 B 4.7 34.86 36.65 38,26 2343126
4745-6 O57 34.58 36. 99 36.63 162112 3434048 IQ 1L B47 44.85 36.34 36,01 34.60 36.51 36.15 165840 7439286
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58 80 PI 3.0 124499 122 126 Pl 28 7.
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59 57 8 4.3 35.49 37,31 397.09 la7768 = leagsaz 125 123 8 $0 34.46 36.86 36. SH 34.68 37.06 36,14 169640 503760
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48 143 8B 4a 34.66 36.62 36,30 169688 211 209 0 6.0 33.07 35.64 35.95 98648 32.95 35.64 35.35 165040
146 180 PI 3.2 212 216 1 2.6 36.79 38.19 37,38 sasio4
147 181 P2 3.3 35.40 28.84 96.30 40664 Z13 217 PO 3,0 38. 9Z 37.03 96.18 340512 35.55 37.57 36.94 SaKeI6
148 144 8 4.7 214 212 6.0 33.45 36.13 3S. 32
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151 149 8 §.0 33.83 36.42 36.19 136092 2721s 8 6 39.60 36,11 35. 71
182 186 PR 3.3 218 222 P1 3.8 35.16 38. 61 35.44
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161 189 B 4.3 34.79 38.52 96.11 188536 227 225 0 S39 | 39.72 36.17 35.67 9 S44tG 99.85 IGS 35,72 182912 15/8876
162 160 B 4.3 228 226 0 5.7 33.64 36,28 35.89 79672 1628248
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